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               IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION

UNITED STATES OF AMERICA,

V.                                            CASE NO. CR412-086

TORY HARDWICK,

        Defendant.


                                  ORDER

        Before     the    Court    is    Defendant's         Motion         for

Reconsideration. (Doc. 432.) After careful consideration of

the record in this case, the Court sees no reason to

reconsider its prior order. (Doc. 416.) Accordingly,

Petitioner's motion is DENIED.
                        Av
     SO ORDERED this        day of August 2016.
                            ..)




                                     WILLIAM T. MOORE, AeO        00,

                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF GEORGIA




                                                 U. S. DISTRICT COURT
                                                 Southern District of Ga.
                                                     Filed in Office




                                                      Deputy Clerk
